   Case 1:18-cv-01022-MN Document 13 Filed 10/05/18 Page 1 of 8 PageID #: 89




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  CHRISTOPHER JAMES WALKER,                           )
                                                      )
                            Plaintiff,                )
                                                      )
             V.                                       )   C.A. No. 18-01022-MN
                                                      )
   HUMANA PHARMACY, INC                               )
                                                      )
                            Defendant.                )

                                 STIPULATED SCHEDULING ORDER
                                         [NON-PATENT]
              5-l}J
       This j.tl'l day of October, 2018, the parties having determined after discussion that the matter

cannot be resolved at this juncture by settleme nt, voluntary mediation, or binding arbitration, and the

parties having met and conferred on a scheduling order, hereby stipulate and agree, subject to the

approval of the Court, as follows:

             IT IS ORDERED that:

        l.        Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. Unless otherwise

agreed to by the parties, the pruties shall make their initial disclosures pursuant to Federal Rule of Civil

Procedure 26(a)(l ) within fourteen (14) days of the date the Court entered this Order. If they have not

already done so, the parties ru·e to revie w the Cou1t's Default Standard for Discovery, Including Discovery

of Electronically Stored Information ("ESI" ), which is posted at http://www.ded.uscourts.gov (see Other

Resources, Default Standards for Discovery) and is incorporated herein by reference.

       2.         Joinder of Other Parties and Amendment of Pleadings. All motions to join other parties,

and to amend or suppleme nt the pleadings, shall be filed on or before February 1, 2019.

       3.         Applicatio n to Court for Protective Order. Should counsel find it will be necessru·y to

apply to the Court for a protective order spec ifying terms and conditions for the disclosure of confidential

information, counsel should confer and attempt to reach an agreement on a proposed form of order and

                                                      1
    Case 1:18-cv-01022-MN Document 13 Filed 10/05/18 Page 2 of 8 PageID #: 90




submit it to the Court within ten (10) days from the date the Court enters this Order. Should counsel be

unable to reach an agreement on a proposed form of order, counsel must follow the provisions of

Paragraph 7(g) below.

         Any proposed protective order must include the following paragraph:

                  Other Proceedings. By entering this order and limiting the disclosure of
                  information in this case, the Court does not intend to preclude another
                  court from finding that information may be relevant and subject to
                  disclosure in another case. Any person or party subject to this order
                  who becomes subject to a motion to disclose another party's
                  information designated "confidential'' [the parties should list any other
                  level of designation, such as "highly confidential," which may be
                  provided for in the protective order] pursuant to this order shall
                  promptly notify that party of the motion so that the party may have an
                  opportunity to appear and be heard on whether that information should
                  be disclosed.

         4.       Papers Filed Under Seal. In accordance with section G of the Revised Administrative

Procedures Governing Filing and Service by Electronic Means, a redacted version of any sealed

document shall be filed electronically within seven (7) days of the filing of the sealed document.

         5.       Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies of all

briefs and one (1) courtesy copy of any other document filed in support of any briefs (i.e., appendices,

exhibits, declarations, affidavits etc.). This provision also applies to papers filed under seal.

         6.       ADR Process. This matter is referred to a magistrate judge to explore the possibility of

alternative dispute resolution.

         7.       Discovery.      Unless otherwise ordered by the Court or agreed to by parties, the

limitations on discovery set forth in the Federal Rules shall be strictly observed.

                  (a)      Discovery Cut Off.          All discovery in this case shall be initiated so that it will

be completed on or before July 26, 2019 or no later than sixty (60) days after the court's ruling on the

motion for class certification, whichever is later. 1

1
  The Parties agree that prior to Plaintiff's class certification motion, the Parties may propound discovery related to both
class and merits issues.
                                                               2
   Case 1:18-cv-01022-MN Document 13 Filed 10/05/18 Page 3 of 8 PageID #: 91




                (b)    Document Production. Document production shall be substantially complete by

the discovery cut-off referenced in Paragraph 7(a).

               (c)     Requests for Admission. The parties shall comply with Fed. R. Civ. P. 36 in

   issuing and responding to Requests for Admissions.

               (d)     Interrogatories.

                       1.      A maximum of 25 interrogatories, including contention interrogatories,

are permitted for each side.

                       ii.     The Court encourages the parties to serve and respond to contention

interrogatories early in the case. In the absence of agreement among the parties, contention interrogatories,

if filed, shall frrst be addressed by the party with the burden of proof. The adequacy of all interrogatory

answers shall be judged by the level of detail each party provides (i.e., the more detail a party provides,

the more detail a party shall receive).

               (e)     Depositions.

                       i.      Limitation on Hours for Deposition Discovery. Each side is limited to a

total of21 hours of taking testimony by deposition upon oral examination, with each deposition's length,

structure, and limitations controlled by the relevant provisions of the Federal Rules of Civil Procedure.

Depositions taken of non-parties pursuant to Fed. R. Civ. P. Rule 45 shall not count toward the

aforementioned total hours.

                       ii.     Location of Depositions. Any party or representative (officer, director,

or managing agent) of a party filing a civil action in this district court must ordinarily be required, upon

request, to submit to a deposition at a place designated within this district. Exceptions to this general

rule may be made by order of the Court. A defendant who becomes a counterclaimant, cross-claimant, or

third-party plaintiff shall be considered as having filed an action in this Court for the purpose of this

provision.

                                                      3
   Case 1:18-cv-01022-MN Document 13 Filed 10/05/18 Page 4 of 8 PageID #: 92




                 (f)   Disclosure of Expert Testimony.

                       1.      Expert Reports. For the party who has the initial burden of proof

   on the subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or

   before April 30, 2019. The supplemental disclosure to contradict or rebut evidence on the same matter

   identified by another party is due on or before May 30, 2019. Reply expert reports from the party

   with the initial burden of proof are due on or before June 21, 2019. No other expert reports will be

   permitted without either the consent of all parties or leave of the Court. Along with the submissions

   of the expert reports, the parties shall advise of the dates and times of their experts' availability for

   deposition.

                       ii.     Objections to Expert Testimony. To the extent any objection to

   expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow Pharm.,

   Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be made by motion

   no later than the deadline for dispositive motions set forth herein, unless otherwise ordered by the

   Court.

                 (g)   Discovery Matters and Disputes Relating to Protective Orders.

                       i.      Any discovery motion filed without first complying with the following

procedures will be denied without prejudice to renew pursuant to these procedures.

                       11.     Should counsel find, after a reasonable effort pursuant to D. Del. L.R.

7. 1. 1. that they are unable to resolve a discovery matter or a dispute relating to a protective order, the

parties involved in the discovery matter or protective order dispute shall contact the Court's Judicial

Administrator to schedule an argument.

                       111.    On a date to be set by separate order, generally not less than forty- eight

(48) hours prior to the conference, the party seeking relief shall file with the Court a letter, not to exceed

three (3) pages, outlining the issues in dispute and its position on those issues. On a date to be set by
                                                      4
   Case 1:18-cv-01022-MN Document 13 Filed 10/05/18 Page 5 of 8 PageID #: 93




separate order, but generally not less than twenty-four (24) hours prior to the conference, any party

opposing the application for relief may file a letter, not to exceed three (3) pages, outlining that party's

reasons for its opposition.

                       iv.     Each party shall submit two (2) courtesy copies of its discovery letter and

any attachments.

                       v.      Should the Court find further briefing necessary upon conclusion of the

conference, the Court will order it. Alternatively, the Court may choose to resolve the dispute prior to

the conference and will, in that event, cancel the conference.

        8.     Motions to Amend I Motions to Strike.

               (a)     Any motion to amend (including a motion for leave to amend) a pleading or any

motion to strike any pleading or other document shall be made pursuant to the discovery dispute

procedure set forth in Paragraph 7(g), above.

               (b)     Any such motion shall attach the proposed amended pleading as well as a

"blackline" comparison to the prior pleading or attach the document to be stricken.

        9.     Class Certification. Any Motion for Class Certification, an opening brief, and affidavits,

if any, in support of the motion shall be served and filed on or before July 26, 2019. Defendant's

opposition brief, and affidavits, if any, in support shall be served and filed on or before August 23, 2019.

Plaintiffs reply brief, if any, shall be served and filed on or before September 6, 2019.

        10.    Dispositive Motions. Any Dispositive Motion, an opening brief, and affidavits, if any,

in support of the motion shall be served and filed on or before October 11, 2019 or ninety (90) days

after the Court's decision on any Motion for Class Certification, whichever is later. Briefing will be

presented pursuant to the Court's Local Rules. No case dispositive motion under Rule 56 may be filed

more than ten (10) days before the above date without leave of the Court.




                                                     5
   Case 1:18-cv-01022-MN Document 13 Filed 10/05/18 Page 6 of 8 PageID #: 94




        11.    Applications by Motion. Except as otherwise specified herein, any application to the

Court shall be by written motion. Any non-dispositive motion should contain the statement required by

Local Rule 7.1.1.

        12.    Motions in Limine. Motions in limine shall not be separately filed. All in limine requests

and responses thereto shall be set forth in the proposed pretrial order. Each party shall be limited to three

(3) in limine requests, unless otherwise permitted by the Court. The in limine request and any response

shall contain the authorities relied upon; each in limine request may be supported by a maximum of three

(3) pages of argument, may be opposed by a maximum of three (3) pages of argument, and the party

making the in limine request may add a maximum of one (1) additional page in reply in support of its

request. If more than one party is supporting or opposing an in limine request, such support or opposition

shall be combined in a single three (3) page submission (and, if the moving party, a single one (1) page

reply), unless otherwise ordered by the Court. No separate briefing shall be submitted on in limine

requests, unless otherwise permitted by the Court.

        13.         Pretrial Conference. Four months after the filing of the Dispositive Motions, on a

specific date to be set later, the Court will hold a pretrial conference in Court with counsel beginning

at 9:30 AM. The parties shall file with the Court the joint proposed final pretrial order in compliance

with Local rule 16.3(c) and the Court's Preferences and Procedures for Civil Cases not later than seven

(7) days before the pretrial conference. Unless otherwise ordered by the Court, the parties shall comply

with the timeframes set forth in Local Rule 16.3(d)(l)-(3) for the preparation of the joint proposed final

pretrial order. The Court will advise the parties at or before the above-scheduled pretrial conference

whether an additional pretrial conference will be necessary.

        The parties shall provide the Court two (2) courtesy copies of the joint proposed final pretrial

order and all attachments.




                                                      6
    Case 1:18-cv-01022-MN Document 13 Filed 10/05/18 Page 7 of 8 PageID #: 95




       14.         Jury Instructions. Voir Dire. and Special Verdict Forms. Where a case is to be tried

to a jury, pursuant to Local Rules 47.l (a)(2) and 51.1 the parties should file (i) proposed voir dire, (ii)

preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms three (3) full

business days before the final pretrial conference. This sub.nission shall be acco mpanied by a courtesy

copy containing electronic files of these documents, in Microsoft Word format, which may be submitted

by e- mail to mn_civil@ded.uscourts.gov.

        15.         Trial. This matter is scheduled for a 4-day trial beginning at 9: 30 a.m. thirty days

after the pretrial confere nce, with the subsequent trial days beginning at 9:00 a.m. Until the case is

submitted to the jury for deliberatio ns, the jury will be excused each clay at 4:30 p.m. The trial will be

timed, as counsel will be allocated a total number of hours in which to present their respective cases.




                                                  /il+J~
                                                   UNITED STATES DISTRICT COURT JUDGE




                                                      7
Case 1:18-cv-01022-MN Document 13 Filed 10/05/18 Page 8 of 8 PageID #: 96




                      Counsel Shall Provide a Chart of All Relevant Deadlines



Joinder/Amendment                                         February 1, 2019
Discovery Cut Off                                         Later of July 26, 2019 or sixty (60) days
                                                          after ruling on class certification
Document Production                                       Later of July 26, 2018 or sixty (60) days
                                                          after ruling on class certification
Expert Report (Party With Burden of Proof)                April 30, 2019
RebuttaVSupplemental Expert Report                        May 30, 2019
Reply Expert Report                                       June 21, 2019
Class Cert Motion                                         ~uly 26, 2019
Class Cert Opposition                                     ~ugust 23, 2019
Class Cert Reply                                          September 6, 2019
Dispositive Motions                                       Later of October 11, 2019 or ninety (90)
                                                          clays after the Court's ruling on a Motion
                                                          for Class Certification
Pretrial Conference                                       four months after dispositive motion
                                                          ming.
Trial                                                     rI'hirty days after pretrial conference.




                                                 8
